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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        )        CASE NO.: 19-51814-LRC
                                              )
ANTHONY HARRISON,                             )        CHAPTER: 13
              Debtor                          )
                                              )
1ST CHOICE CREDIT UNION,                      )        HON. LISA RITCHEY CRAIG
                 Movant                       )
vs.                                           )
                                              )
ANTHONY HARRISON,                             )
                  Respondent                  )
MELISSA J, DAVEY,                             )
                  Trustee                     )

                                      DEFAULT MOTION

         COMES NOW, 1st CHOICE CREDIT UNION (“FCCU”) a party in interest in the above-

captioned matter, and respectfully shows to this Court as follows:

                                                  1.

         FCCU holds a security interest in the Debtor’s 2011 Dodge Challenger, Vehicle

Identification No. 2B3CJ4DGXBH596825 (“Vehicle”), by virtue of having of a Certificate of

Title and pursuant to a loan contract and security agreement.

                                                  2.

         FCCU filed a Motion for Relief on February 12, 2019 (Docket No. 13). A strict compliance

Consent Order Denying Motion for Relief from Automatic Stay was entered on March 18, 2019

(Docket No. 29). The Consent Order required the Debtor maintain the chapter 13 trustee payments.

The Consent Order also contained a default provision.

                                                  3.

         The Debtor has failed to make Plan payments to the Chapter 13 Trustee. The Debtor’s

monthly payments to the Chapter 13 Trustee are $500.00 per month. The last payment to Trustee
                                                  1
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was on or about April 2, 2020.

                                                4.

      On May 19, 2020, a Notice of Default and Right to Cure Default was mailed to the Debtor

and to the Debtor’s attorney. A copy is hereto attached as “Exhibit A”. The First-Class mail was

sent and has not been returned.

                                                5.

       The Debtor failed to cure the default within ten (10) days of the date of the mailing of the

Notice of Default and Right to Cure Default.

       WHEREFORE, FCCU respectfully requests that this Court enter an Order terminating

automatic stay as to the Vehicle pursuant to the Consent Order entered on March 18, 2019.

       RESPECTFULLY SUBMITTED this 3rd day of June, 2020.


                                                            /s/ Michael B. Pugh
                                                            MICHAEL B. PUGH
                                                            Georgia State Bar No. 150170

For the Firm of
THOMPSON, O'BRIEN, KEMP & NASUTI, P.C.
40 Technology Parkway South, Suite 300
Peachtree Corners, Georgia 30092
 (770) 925-0111
mpugh@tokn.com
Attorneys for 1st Choice Credit Union




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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                      )          CASE NO.: 19-51814-LRC
                                              \
                                            )
ANTHONY HARRISON,                           )          CHAPTER: 13
                       Debtor               )
                                            )
      CHOICE CREDIT UNION.                  )          HON.LISA RITCHEY CRAIG
                       Movant               )
vs.                                         )
                                              \
                                            )
ANTHONY HARRISON,                           )
                       Respondent           )
and                                         )
                                              \


MELISSA J, DAVEY,                           )
                       Trustee              )


                                 AFFIDAVIT OF DEFAULT


        PERSONALLY APPEARED, before the undersigned officer duly authorized by law to

administer oaths, DAVID C. WHITRIDGE, after being placed upon his oath, deposes and states

from his own personal knowledge as follows:

                                                  1.


         Affiant makes this Affidavit from her own personal knowledge. Affiant is competent to

testify to all matters asserted herein. Affiant is over eighteen (18) years of age. Affiant is the

ATTORNEY AT LAW.


                                                  2.


        FCCU holds a security interest in the Debtor's 2011 Dodge Challenger, Vehicle

Identification No. 2B3CJ4DGXBH596825 ("Vehicle"), by virtue of having of a Certificate of

Title and pursuant to a loan contract and security agreement.
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                                  CERTIFICATE OF SERVICE

       This is to certify that I have on this 3rd day of June, 2020, electronically filed the foregoing
Default Motion using the Bankruptcy Court's Electronic Case Filing program, which sends a
notice of this document and an accompanying link to this document to the following parties who
have appeared in this case under the Bankruptcy Court's Electronic Case Filing program:
Howard P. Slomka and Chapter 13 Trustee, Melissa J. Davey.

       I further certify that on this 3rd day of June, 2020, I caused a copy of this document to be
served via U.S. First Class Mail, with adequate postage prepaid on the Debtor at the following
address:

Anthony Harrison
617 Falcons Ridge
McDonough, Georgia 30253

                                                               /s/ Michael B. Pugh
                                                               MICHAEL B. PUGH
                                                               Georgia State Bar No. 150170

For the Firm of
THOMPSON, O'BRIEN, KEMP & NASUTI, P.C.
40 Technology Parkway South, Suite 300
Peachtree Corners, Georgia 30092




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                                                                      Thompson, O'Brien, Kemp & NasutI, P.C.
            THOMPSON                                                                              Attorneys at Law
TOKN
            O'BRIEN                                                                            David C. Whitridge
                                                                                          DWhitridge@tokn.com
                                                                                         Direct dial: 470.554.7962

                                                  May 19, 2020

    NOTICE OF DEFAULT
    VIA REGULAR U.S. MAIL


     Howard P. Slomka                                   Anthony Harrison
     Slipakoff& Slomka,PC                               617 Falcons Ridge
     Suite 2100                                          McDonough, Georgia 30253
     3350 Riverwood Parkway
     Atlanta, GA 30339



            Re:      Anthony Harrison
                     Chapter 13 Case No. 19-51814-LRC
                     Account No. **3000
                     Our File No. 7325.00013


    Dear Howard:


            We represent First Choice Credit Union ("FCCU") in the above-referenced bankruptcy
    case. The Debtor is in default pursuant to the terms of the Consent Order entered March 18, 2019
    (Docket No. 29).

            Pursuant to the Consent Order, the Debtor was to make timely chapter 13 plan payments
    for a period of 12 months from the entry of the Order. To date, the Plan payments are delinquent
    in the amount of $1,100.00.

           In accordance with the Consent Order this correspondence shall serve as your Notice of
    Default. If the default is not cured within ten (10) days of the date of mailing of this notice,
    FCCU may be entitled to stay relief as to the Debtor's 2011 Dodge without further notice or
    hearing.


                                                     Very truly yours,
                                                     THOMPSON,O'BRIEN, KEMP & NASUTI,P.C.

                                                     /i/VcwLd/C. WhCtyCdge/                               EXHIBIT

                                                     David C. Whitridge




40 Technology Parkway South ] Suite 300|Peachtree Corners, Georgia|30092|770.925.oni ] 770.925.8597 fax|www.tokn.com
